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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 IOAN MICULA, ET AL.,
                                          Petitioner,

                           v.                            Case No.: 1:17-cv-02332-APM

 THE GOVERNMENT OF ROMANIA,
                        Respondent.


   THE EUROPEAN COMMISSION’S MOTION FOR LEAVE TO FILE AN AMICUS
                         CURIAE REPLY

       The European Commission (the “EC”) respectfully requests leave to file within 14 days of

the Court’s order an amicus curiae reply to the Petitioners’ Memorandum of Law in Response to

the EC’s amicus brief, see ECF No. 195, which raises new arguments to which the EC has not

previously been given the opportunity to respond. In support of this motion, the EC states:

       1.       On March 29, 2022, Romania moved for relief from judgement pursuant to Rule

60(b)(4), (5), and (6), which the Petitioners oppose. See ECF Nos. 181, 184.

       2.       On May 17, 2022 and after obtaining leave from this Court, the EC filed its amicus

brief (the “EC Brief”). ECF No. 191.

       3.       On June 24, 2022, the Petitioners filed their Memorandum of Law in Response to

the EC Brief. ECF No. 195.

       4.       The EC respectfully requests leave to file a short reply brief, not to exceed 10 pages,

for the narrow purpose of rebutting specific arguments raised by the Petitioners for the first time,

specifically:

            a. The Petitioners’ mischaracterization that the CJEU decision “is not final” and the

                effect of the CJEU remand to the General Court. See ECF No. 195, Pet’rs’ Resp. at
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               11. The EC’s submission will briefly discuss relevant developments in proceedings

               initiated by the Petitioners to enforce the Award in Luxembourg, where the Parquet

               Général of Luxembourg (similar to the Solicitor General of the United States) has

               advised the Luxembourg Court of Cassation (the highest constitutional court), in

               light of the CJEU decision, to reverse a lower court’s judgment recognizing and

               enforcing the Award on the ground that Romania had not waived its sovereign

               immunity.

            b. The Petitioner’s misstatement that the General Court’s decision “was not the

               foundational basis for this Court’s decision to enter the Judgment.” See id. at 4;

            c. The Petitioner’s incorrect reading of the United States Supreme Court’s June 13,

               2022 decision in Kemp v. United States, 596 U.S. __ (2022). See id. at 4, n.3; see

               also ECF No. 194;

            d. The Petitioners’ incorrect assertion that the principle of comity is irrelevant to

               determine whether the arbitration exception to sovereign immunity applies in this

               case. See ECF No. 195, at 11;

            e. The Petitioner’s misrepresentation of the relationship between ICSID articles 27

               and 54. See id. at 13-14; and

            f. The Petitioner’s incorrect assertion that nothing in the exchanges between Sweden

               and Romania speak to the validity of the pre-accession arbitration agreement that

               resulted in the Award. See id. at 15-18.

       5.      This litigation concerns the application of European Union (“EU”) law. The EC is

uniquely positioned to speak on the EU’s behalf and to ensure that this Court proceeds based on a

correct understanding of EU law. See ECF No. 187 at 2-3 (discussing the EC’s interest in the case).



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Granting this motion would not unduly delay this case’s disposition or otherwise disrupt the course

of these proceedings. To the contrary, it would aid this Court’s consideration of important and

potentially far-reaching questions of EU law.

       6.       Counsel for the EC has contacted counsel for the Petitioners and for Romania

regarding this motion. Romania consents to this motion. The Petitioners declined to consent to this

motion. The Petitioners also opposed the EC’s motion to file an amicus curiae brief in the

proceedings before the D.C. Circuit Court, but the Court granted the EC’s petition. See Micula v.

Romania, USCA Docket No. 19-7127 (D.C. Cir.). The Petitioners did, however, previously

consent to the EC’s brief in the original proceeding before this Court, which this Court granted.

ECF No. 56, Consent Motion for Leave to File a Brief on Behalf of the European Commission as

Amicus Curiae, at 6.

       7.       By submitting this motion, the EC specifically reserves all of its rights and does

not waive any of its defenses or its sovereign immunity.

                                           Respectfully submitted,

 July 7, 2022                              /s/ Stephen P. Anway
 Washington, DC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2022, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

day on all attorneys of record via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                            Respectfully submitted,

 July 7, 2022                               /s/ Dimitar P. Georgiev-Remmel
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